2/28/2021        https://search.bexar.org/Case/CaseDetail?r=68ccbf4e-83c8-42b8-947a-ff51f75dfb70&cs=2020ci23993&ct=&&p=2_2020CI23993++++DC…




   Case #2020CI23993
   Name: YVONNE SHILLING

   Date Filed : 12/14/2020

   Case Status : PENDING

   Litigant Type : PLAINTIFF

   Court : 131

   Docket Type : OTHER CIVIL CASES

   Business Name :

   Style : HEIRS OF FERNANDO MACIAS ET AL

   Style (2) : vs BEXAR COUNTY ET AL




https://search.bexar.org/Case/CaseDetail?r=68ccbf4e-83c8-42b8-947a-ff51f75dfb70&cs=2020ci23993&ct=&&p=2_2020CI23993++++DC0000200000     1/2
2/28/2021       https://search.bexar.org/Case/CaseDetail?r=68ccbf4e-83c8-42b8-947a-ff51f75dfb70&cs=2020ci23993&ct=&&p=2_2020CI23993++++DC…




   Case History
                                           Currently viewing 1 through 13 of 00013 records

     Sequence                Date Filed               Description

    S00011                   2/2/2021                CITATION CERTIFIED MAIL
                                                     SHERIFF JAVIER SALAZAR
                                                     ISSUED: 2/2/2021 RECEIVED: 2/2/2021
                                                     EXECUTED: 2/4/2021 RETURNED: 2/8/2021
    S00010                   2/2/2021                CITATION
                                                     SHERIFF JAVIER SALAZAR
                                                     ISSUED: 2/2/2021

    S00009                   2/2/2021                CITATION
                                                     RUBEN VELA
                                                     ISSUED: 2/2/2021
    S00008                   2/2/2021                CITATION CERTIFIED MAIL
                                                     BOBBY HOGELAND
                                                     ISSUED: 2/2/2021 RECEIVED: 2/2/2021
                                                     EXECUTED: 2/6/2021 RETURNED: 2/11/2021

    S00007                   2/2/2021                CITATION
                                                     BOBBY HOGELAND
                                                     ISSUED: 2/2/2021
    S00006                   2/2/2021                CITATION CERTIFIED MAIL
                                                     BEXAR COUNTY
                                                     ISSUED: 2/2/2021 RECEIVED: 2/2/2021
                                                     EXECUTED: 2/4/2021 RETURNED: 2/4/2021
    S00005                   2/2/2021                CITATION
                                                     BEXAR COUNTY
                                                     ISSUED: 2/2/2021

    S00004                   2/2/2021                CITATION CERTIFIED MAIL
                                                     BEXAR COUNTY HOSPITAL DISTRICT
                                                     ISSUED: 2/2/2021 RECEIVED: 2/2/2021
                                                     EXECUTED: 2/4/2021 RETURNED: 2/8/2021
    S00003                   2/2/2021                CITATION
                                                     BEXAR COUNTY HOSPITAL DISTRICT
                                                     ISSUED: 2/2/2021
    S00002                   2/2/2021                CITATION CERTIFIED MAIL
                                                     LAURA BALDITT
                                                     ISSUED: 2/2/2021 RECEIVED: 2/2/2021
                                                     EXECUTED: 2/4/2021 RETURNED: 2/8/2021
    S00001                   2/2/2021                CITATION
                                                     LAURA BALDITT
                                                     ISSUED: 2/2/2021
    P00002                   2/1/2021                REQUEST FOR SERVICE AND PROCESS
    P00001                   12/14/2020              PETITION




https://search.bexar.org/Case/CaseDetail?r=68ccbf4e-83c8-42b8-947a-ff51f75dfb70&cs=2020ci23993&ct=&&p=2_2020CI23993++++DC0000200000    2/2
